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12 Antonio J. Gracias, James Murdoch, Kimbal Musk,
   And Linda Johnson Rice
13

14                             UNITED STATES DISTRICT COURT
15                          NORTHERN DISTRICT OF CALIFORNIA
16

17 IN RE TESLA, INC. SECURITIES                   Case No. 3:18-cv-04865-EMC
   LITIGATION
18
                                                  DECLARATION OF KYLE BATTER IN
19                                                SUPPORT OF DEFENDANTS’
                                                  OPPOSITION TO PLAINTIFF’S
20                                                MOTION FOR PARTIAL SUMMARY
                                                  JUDGMENT
21
                                                  Date: March 10, 2022
22
                                                  Time: 1:30 p.m.
23                                                Location: Courtroom 5, 17th Floor
                                                  Judge: Hon. Edward Chen
24
                                                  REDACTED FOR PUBLIC FILING
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                                                                   Case No. 3:18-cv-04865-EMC
            BATTER DECLARATION IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
     Case 3:18-cv-04865-EMC Document 365-1 Filed 02/01/22 Page 2 of 134




 1                               DECLARATION OF KYLE BATTER

 2          I, KYLE BATTER, declare as follows:

 3          1.     I am an attorney at the law firm Quinn Emanuel Urquhart & Sullivan, LLP, counsel for

 4 Defendants Tesla, Inc., Elon Musk, Brad W. Buss, Robyn Denholm, Ira Ehrenpreis, Antonio J.

 5 Gracias, James Murdoch, Kimbal Musk, and Linda Johnson Rice in this action. I make this

 6 declaration in support of Defendants’ Opposition to Plaintiff’s Motion for Partial Summary Judgment.

 7 I know the facts stated herein of my own personal knowledge and, if called as a witness, I could and

 8 would testify competently thereto.

 9          2.     Attached hereto as Exhibit A is a true and correct copy of an August 15, 2018 article

10 by the Wall Street Journal titled “Saudi Arabia Goes High-Tech in Approach to Investing.”1

11          3.     Attached hereto as Exhibit B is a true and correct copy of excerpts of the August 29,
12 2018 deposition testimony of Elon Musk in the matter “Tesla Motors, Inc.,” File No. SF-04082-A

13 (“SEC Matter”).

14          4.     Attached hereto as Exhibit C is a true and correct copy of excerpts of the August 28,
15 2018 deposition testimony of Samuel Teller in the SEC Matter.

16          5.     Attached hereto as Exhibit D is a true and correct copy of a November 15, 2017 article
17 by Rolling Stone magazine titled “Elon Musk: The Architect of Tomorrow.”

18          6.     Attached hereto as Exhibit E is a true and correct copy of excerpts of the August 28,
19 2018 deposition testimony of Deepak Ahuja in the SEC Matter.

20          7.     Attached hereto as Exhibit F is a true and correct copy of an email chain dated April
21 14, 2017 and produced in this action with the bates stamp TSLA_SECSF0059270.

22          8.      Attached hereto as Exhibit G is a true and correct copy of an email chain dated April
23 24-26, 2017 and produced in this action with the bates stamp TSLA_SECSF0060208.

24          9.     Attached hereto as Exhibit H is a true and correct copy of an email dated April 30,
25 2017 and produced in this action with the bates stamp TSLA_SECSF0060216.

26

27      1
         Previous deposition exhibits are marked with numbers (e.g., 1-400); new exhibits in support
28 of Defendants’ Opposition are marked with letters (e.g., A-Z).

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             BATTER DECLARATION IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1          10.    Attached hereto as Exhibit I is a true and correct copy of a graph reflecting Tesla’s

 2 stock price from August 7 through 17, 2018.

 3          11.    Attached hereto as Exhibit J is a true and correct copy of an email chain dated August

 4 12 through 13, 2018 and produced in this action with the bates stamp GSGTSLA-0000540.

 5          12.    Attached hereto as Exhibit K is a true and correct copy of an August 13, 2018 tweet by

 6 Elon Musk.

 7          13.    Attached hereto as Exhibit L is a true and correct copy of excerpts from the November

 8 10, 2021 report of Michael L. Hartzmark, Ph.D.

 9          14.    Attached hereto as Exhibit M is a true and correct copy of an August 14, 2018 article

10 by Barclays titled “Time for even ‘blue pillers’ to cash out?”

11          15.    Attached hereto as Exhibit N is a true and correct copy of excerpts from the December
12 8, 2021 report of Daniel R. Fischel.

13          16.    Attached hereto as Exhibit O is a true and correct copy of excerpts of the November 5,
14 2021 deposition testimony of Elon Musk in this matter.

15          17.    Attached hereto as Exhibit P is a true and correct copy of excerpts of the August 11,
16 2021 deposition testimony of Sam Teller in this matter.

17          18.    Attached hereto as Exhibit Q is a true and correct copy of excerpts of the August 5,
18 2021 deposition testimony of Deepak Ahuja in this matter.

19          19.    Attached hereto as Exhibit 8 is a true and correct copy of an August 7, 2018 tweet that
20 has been marked as deposition Exhibit No. 8.

21          20.    Attached hereto as Exhibit 10 is a true and correct copy of an August 7, 2018 tweet
22 that has been marked as deposition Exhibit No. 10.

23          21.    Attached hereto as Exhibit 11 is a true and correct copy of an August 7, 2018 tweet
24 that has been marked as deposition Exhibit No. 11.

25          22.    Attached hereto as Exhibit 12 is a true and correct copy of an August 7, 2018 Tesla
26 blog post that has been marked as deposition Exhibit No. 12.

27          23.    Attached hereto as Exhibit 13 is a true and correct copy of an August 7, 2018 tweet
28 that has been marked as deposition Exhibit No. 13.

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             BATTER DECLARATION IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
     Case 3:18-cv-04865-EMC Document 365-1 Filed 02/01/22 Page 4 of 134




 1         24.    Attached hereto as Exhibit 16 is a true and correct copy of an August 13, 2018 Tesla

 2 blog post that has been marked as deposition Exhibit No. 16.

 3         25.    Attached hereto as Exhibit 19 is a true and correct copy of an August 16, 2018 article

 4 by the New York Times that has been marked as deposition Exhibit No. 19.

 5         26.    Attached hereto as Exhibit 26 is a true and correct copy of an August 8, 2018 Tesla

 6 blog post that has been marked as deposition Exhibit No. 26.

 7         27.    Attached hereto as Exhibit 33 is a true and correct copy of an August 8, 2018 article by

 8 Evercore that has been marked as deposition Exhibit No. 33.

 9         28.    Attached hereto as Exhibit 53 is a true and correct copy of an August 13, 2018 Tesla

10 blog post that has been marked as deposition Exhibit No. 53.

11         29.    Attached hereto as Exhibit 76 is a true and correct copy of an email chain dated
12 February 12, 2017 through April 15, 2017 that has been marked as deposition Exhibit No. 76.

13         30.    Attached hereto as Exhibit 81 is a true and correct copy of an email dated August 2,
14 2018 that has been marked as deposition Exhibit No. 81.

15         31.    Attached hereto as Exhibit 94 is a true and correct copy of an email dated August 11,
16 2018 that has been marked as deposition Exhibit No. 94.

17         32.    Attached hereto as Exhibit 105 is a true and correct copy of an email chain dated
18 November 7 through 10, 2016 that has been marked as deposition Exhibit No. 105.

19         33.    Attached hereto as Exhibit 106 is a true and correct copy of an email chain dated
20 January 31, 2017 that has been marked as deposition Exhibit No. 106.

21         34.    Attached hereto as Exhibit 109 is a true and correct copy of an email chain dated July
22 28 through 29, 2018 that has been marked as deposition Exhibit No. 109.

23         35.    Attached hereto as Exhibit 121 is a true and correct copy of a set of text messages
24 dated August 1 through 15, 2018 that has been marked as deposition Exhibit No. 121.

25         36.    Attached hereto as Exhibit 182 is a true and correct copy of a set of text messages
26 dated August 5 through 17, 2018 that has been marked as deposition Exhibit No. 182.

27         37.    Attached hereto as Exhibit 225 is a true and correct copy of an August 7, 2018 article
28 by Industrial Goods that has been marked as deposition Exhibit No. 225.

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             BATTER DECLARATION IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1         38.     Attached hereto as Exhibit 229 is a true and correct copy of an August 24, 2018 Tesla

 2 blog post that has been marked as deposition Exhibit No. 229.

 3         39.     Attached hereto as Exhibit 255 is a true and correct copy of an email dated August 10,

 4 2018 that has been marked as deposition Exhibit No. 255.

 5         40.     Attached hereto as Exhibit 323 is a true and correct copy of an August 11, 2018 article

 6 by Reuters that has been marked as deposition Exhibit No. 323.

 7         41.     Attached hereto as Exhibit 332 is a true and correct copy of an August 12, 2018 article

 8 by Bloomberg that has been marked as deposition Exhibit No. 332.

 9

10         I declare under penalty of perjury of the laws of the State of California that the foregoing is

11 true and correct. Executed this 1st day of February 2022.

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                                                    Kyle Batter
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 https://www.wsj.com/articles/saudi-arabia-goes-high-tech-in-approach-to-investing-1534325402


MARKETS

Saudi Arabia Goes High-Tech in Approach to Investing
Talks with Tesla show how crown prince’s sovereign-wealth fund has become a global player, but
some worry about impulsive, risky bets




Saudi Crown Prince Mohammed bin Salman visits Lockheed Martin in San Francisco in April.
PHOTO: HANDOUT/REUTERS


By Rory Jones and Summer Said in Dubai and Maureen Farrell in New
York
Updated Aug. 15, 2018 3:37 pm ET

When Saudi Arabia’s Crown Prince Mohammed bin Salman toured the U.S. two years ago,
he couldn’t even get an audience with Tesla Inc. Chief Executive Elon Musk, people
familiar with the outreach said. Since then, his country’s sovereign-wealth fund has
boosted its stake in the car maker, and he is now weighing whether to be part of a deal to
take the company private.

The shift shows how quickly Crown Prince Mohammed and his sovereign-wealth fund
have become a pivotal global investor. The Public Investment Fund’s moves have also
brought an element of unpredictability to a $225 billion fund, mirroring the headlong
leadership style of 32-year-old Prince Mohammed, who is trying to transform Saudi
Arabia from a staid petrostate to a technology-focused economy.


https://www.wsj.com/articles/saudi-arabia-goes-high-tech-in-approach-to-investing-1534325402                                                                   1/6
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But with its aggressive approach to investment, PIF is also leveraging up, sourcing direct
deals and shifting into higher-risk tech startups. Some Saudis worry that it is
jeopardizing the wealth of Saudi Arabia’s next generation by combining politics and
inexperience with impulsive bets on technologies of the future. The talks with electric-car
maker Tesla have crystallized those concerns.

“There are several people in the government that would question that deal and whether it
is the right call,” an adviser to the Saudi government said. “Saudi Arabia wants to go big
on electric vehicles but wanting something and making it a reality is something else.”




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Splashing the Cash
Saudi Arabia's sovereign-wealth fund has quickly sourced billion-dollar deals.



NAME                                             LOCATION                     YEAR             VALUE


Softbank                                     Japan                          2016                       $45 billion


Blackstone                                   U.S.                           ’17                                      20



Russian DIF                                  Russia                         ’17                                      10


AccorInvest*                                 France                         ’18                                      5.3



Uber                                         U.S.                           ’16                                      3.5



Tesla†                                       U.S.                           ’18                                      2.0


Adeptio‡                                     UAE                            ’16                                      1.2



Posco                                        S. Korea                       ’15                                      1.1



Virgin                                       U.S.                           ’17                                      1.0



Noon                                         UAE                            ’16                                      0.5



Magic Leap                                   U.S.                           ’18                                      0.4



*Part of a Consortium of buyers. †Estimated 4.6% purchase in listed shares reported by Financial Times. ‡Estimated value
based on company’s total sale value.
Source: Public Investment Fund press releases. Includes committed capital and announced stake purchases


Interviews with advisers and people close to the PIF said the fund sources its potential
deals through political and business ties. The crown prince ultimately makes the call


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whether to go ahead with investments, and in many cases, has forged personal
connections with the executives running the companies.

An adviser to the Saudi government said talks about investing more in Tesla included the
crown prince, who also is likely to have the final say on increasing PIF’s stake.

The Saudi royal toured the U.S. in 2016 in a push for tech deals that included an outreach
to Tesla, which was rebuffed, people familiar with the matter said. Tesla declined to
comment on the account.

In a blog post on Monday, Mr. Musk said Saudi Arabia had reached out to him two years
ago and he started face-to-face talks early last year with the PIF on a major stake.

Since then, the fund built a 4.6% stake via listed shares in Tesla, one of the U.S. stock
market’s most-shorted stocks. PIF’s Chief Executive Yasir Rumayyan currently is working
on a detailed proposal to present to the crown prince about increasing PIF’s stake in
Tesla, the adviser to the Saudi government said.

Mr. Musk stunned markets last week when he shared his thinking over Twitter about
taking Tesla private. The announcement is now subject to regulatory scrutiny.

Tesla’s directors on Tuesday formed a special committee to evaluate Mr. Musk’s
suggestion of taking the company private.

The senior Saudi adviser and another person with knowledge of the matter said SoftBank
Group Corp. Chief Executive Masayoshi Son encouraged the Saudis to buy into Chinese
electric-battery maker Contemporary Amperex Technology Co., but the crown prince
preferred Tesla because it is American.

A spokesman for SoftBank declined to comment on Mr. Son’s advice for the crown prince.
People close to SoftBank have ruled it out of any deal for Tesla, despite its major
partnership with PIF.

Spokesmen for PIF declined to comment. The Saudi government and its royal court didn’t
respond to phone and email requests for comments on this article.

Officials at the Saudi fund are seeking Tesla’s expertise to tie into broader plans to create
new industries in solar-power generation, battery storage and electric-vehicle
production, The Wall Street Journal has reported. The fund, which is talks with banks to

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raise billions of its own debt, hopes its investments in technology will act as a hedge
against the decline of the energy sector.




Participants watch a movie advertising Saudi Arabia's Red Sea project on the sidelines of the three-
day Future Investment Initiatives conference in Riyadh last October.
PHOTO: FAYEZ NURELDINE/AGENCE FRANCE-PRESSE/GETTY IMAGES


The PIF isn’t alone in investing in technology. Singapore’s Temasek Holdings and GIC
Private Ltd. and the China Investment Corp. also have become active in venture capital.
Although unusual, other sovereigns such as Temasek also have taken on debt.

But the PIF is unique in the size and scope of the investments, said Javier Capapé, director
of the Sovereign Wealth Lab at Madrid’s IE Business School.

“PIF investing in tech is part of the country’s wider strategy,” he said. “What’s not very
clear to me is how investing in high-tech things will drive your economy or lead you into
other sectors to compensate the oil.”

The PIF is scrambling to raise money for its investments. The fund is in talks with banks to
raise billions of its own debt and plans to use cash from the sale of its stake in Saudi
Arabia’s national chemicals company to oil giant Aramco, better known Saudi Arabian Oil
Co., in a deal worth up to $70 billion.

The PIF’s first major international technology investment, in Uber Technologies Inc., was
hatched in 2016 after a barbecue in Riyadh attended by PIF’s Mr. Rumayyan and then-
Uber policy head and former White House official, David Plouffe, people familiar with the
deal said. Uber’s then-chief, Travis Kalanick, subsequently visited Saudi Arabia to meet
Crown Prince Mohammed and the PIF bought $3.5 billion stake within weeks, people
familiar with the deal said.
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The PIF soon after made an even bigger wager than Uber. It committed $45 billion into
Softbank’s $100 billion Vision Fund. That deal was famously agreed upon in a 45-minute
conversation between Crown Prince Mohammed and Mr. Son, before the two sides then
spent months agreeing on the details.

A month later in Dubai, Mr. Rumayyan stepped in with another surprising investment.

Emirati billionaire businessman Mohamed Alabbar was set to announce a major new e-
commerce startup to take on Amazon Inc. Minutes before Mr. Alabbar took the stage at
the Dubai Opera House, the PIF signed an agreement to back the venture, known as Noon,
with $500 million, people familiar with this deal said. Although PIF had been reluctant to
invest in the startup, Crown Prince Mohammed encouraged the deal because it is also
backed by officials in Abu Dhabi, the capital of the United Arab Emirates and Saudi
Arabia’s closest ally, the people said.

In March, when Saudi Arabia also took a $400 million stake in augmented- reality startup
Magic Leap Inc., people close to the deal were stunned at how quickly it came together—
just six days. The speed caught the attention of Silicon Valley’s financiers and
entrepreneurs.

“They did the Uber deal and increased their profile as a fund,” said an adviser familiar
with Saudi government thinking. “When Yasir [Rumayyan] then went to California,
everyone wanted to meet him.”

Write to Rory Jones at rory.jones@wsj.com, Summer Said at summer.said@wsj.com and
Maureen Farrell at maureen.farrell@wsj.com



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              EXHIBIT B
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              EXHIBIT C
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              EXHIBIT D
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Elon Musk: The Architect of Tomorrow
   rollingstone.com/culture/culture-features/elon-musk-the-architect-of-tomorrow-120850

By Neil Strauss                                                                           November 15, 2017




It’s mid-afternoon on a Friday at SpaceX headquarters in Hawthorne, California, and three of
Elon Musk’s children are gathered around him – one of his triplets, both of his twins.

Musk is wearing a gray T-shirt and sitting in a swivel chair at his desk, which is not in a
private office behind a closed door, but in an accessible corner cubicle festooned with outer-
space novelty items, photos of his rockets, and mementos from Tesla and his other
companies.




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Most tellingly, there’s a framed poster of a shooting star with a caption underneath it that
reads, “When you wish upon a falling star, your dreams can come true. Unless it’s really a
meteor hurtling to the Earth which will destroy all life. Then you’re pretty much hosed, no
matter what you wish for. Unless it’s death by meteorite.” To most people, this would be
mere dark humor, but in this setting, it’s also a reminder of Musk’s master plan: to create
habitats for humanity on other planets and moons. If we don’t send our civilization into
another Dark Ages before Musk or one of his dream’s inheritors pull it off, then Musk will
likely be remembered as one of the most seminal figures of this millennium. Kids on all the
terraformed planets of the universe will look forward to Musk Day, when they get the day off
to commemorate the birth of the Earthling who single-handedly ushered in the era of space
colonization.

And that’s just one of Musk’s ambitions. Others include converting automobiles, households
and as much industry as possible from fossil fuels to sustainable energy; implementing a new
form of high-speed city-to-city transportation via vacuum tube; relieving traffic congestion
with a honeycomb of underground tunnels fitted with electric skates for cars and commuters;
creating a mind-computer interface to enhance human health and brainpower; and saving
humanity from the future threat of an artificial intelligence that may one day run amok and
decide, quite rationally, to eliminate the irrational human species.

So far, Musk, 46, has accomplished none of these goals.

But what he has done is something that very few living people can claim: Painstakingly
bulldozed, with no experience whatsoever, into two fields with ridiculously high barriers to
entry – car manufacturing (Tesla) and rocketry (SpaceX) – and created the best products in
those industries, as measured by just about any meaningful metric you can think of. In the
process, he’s managed to sell the world on his capability to achieve objectives so lofty that
from the mouth of anyone else, they’d be called fantasies.

At least, most of the world. “I’m looking at the short losses,” Musk says, transfixed by CNBC
on his iPhone. He speaks to his kids without looking up. “Guys, check this out: Tesla has the
highest short position in the entire stock market. A $9 billion short position.”

His children lean over the phone, looking at a table full of numbers that I don’t understand.
So his 13-year-old, Griffin, explains it to me: “They’re betting that the stock goes down, and
they’re getting money off that. But it went up high, so they lost an insane amount of money.”

“They’re jerks who want us to die,” Musk elaborates. “They’re constantly trying to make up
false rumors and amplify any negative rumors. It’s a really big incentive to lie and attack my
integrity. It’s really awful. It’s…”

He trails off, as he often does when preoccupied by a thought. I try to help: “Unethical?”

“It’s…” He shakes his head and struggles for the right word, then says softly, “Hurtful.”


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It is easy to confuse who someone is with what they do, and thus turn them into a caricature
who fits neatly into a storybook view of the world. Our culture always needs villains and
heroes, fools and geniuses, scapegoats and role models. However, despite opinions to the
contrary, Elon Musk is not a robot sent from the future to save humanity. Nor is he a Silicon
Valley savant whose emotional affect has been replaced with supercomputer-like intelligence.
Over the course of nine months of reporting, watching Musk do everything from strategize
Mars landings with his rocket-engineering team to plan the next breakthroughs with his
artificial-intelligence experts, I learned he is someone far, far different from what his myth
and reputation suggest.

The New York Times has called him “arguably the most successful and important
entrepreneur in the world.” It’s an easy case to make: He’s probably the only person who has
started four billion-dollar companies – PayPal, Tesla, SpaceX and Solar City. But at his core,
Musk is not a businessman or entrepreneur. He’s an engineer, inventor and, as he puts it,
“technologist.” And as a naturally gifted engineer, he’s able to find the design inefficiencies,
flaws and complete oversights in the tools that power our civilization.

“He’s able to see things more clearly in a way that no one else I know of can understand,”
says his brother, Kimbal. He discusses his brother’s love of chess in their earlier years, and
adds, “There’s a thing in chess where you can see 12 moves ahead if you’re a grandmaster.
And in any particular situation, Elon can see things 12 moves ahead.”




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His children soon leave for the home of their mother, Musk’s ex-wife Justine. “I wish we
could be private with Tesla,” Musk murmurs as they exit. “It actually makes us less efficient
to be a public company.”

What follows is … silence. Musk sits at his desk, looking at his phone, but not typing or
reading anything. He then lowers himself to the floor, and stretches his back on a foam roller.
When he finishes, I attempt to start the interview by asking about the Tesla Model 3 launch a
week earlier, and what it felt like to stand onstage and tell the world he’d just pulled off a plan
14 years in the making: to bootstrap, with luxury electric cars, a mass-market electric car.

The accomplishment, for Musk, is not just in making a $35,000 electric car; it’s in making a
$35,000 electric car that’s so good, and so in-demand, that it forces other car manufacturers
to phase out gas cars to compete. And sure enough, within two months of the launch, both
GM and Jaguar Land Rover announced they were planning to eliminate gas cars and go all-
electric.

Musk thinks for a while, begins to answer, then pauses. “Uh, actually, let me go to the
restroom. Then I’ll ask you to repeat that question.” A longer pause. “I also have to unload
other things from my mind.”

Five minutes later, Musk still hasn’t returned. Sam Teller, his chief of staff, says, “I’ll be right
back.”

Several minutes after that, they both reappear and huddle nearby, whispering to each other.
Then Musk returns to his desk.

“We can reschedule for another day if this is a bad time,” I offer.

Musk clasps his hands on the surface of the desk, composes himself, and declines.

“It might take me a little while to get into the rhythm of things.”

Then he heaves a sigh and ends his effort at composure. “I just broke up with my girlfriend,”
he says hesitantly. “I was really in love, and it hurt bad.”

He pauses and corrects himself: “Well, she broke up with me more than I broke up with her, I
think.”

Thus, the answer to the question posed earlier: It felt unexpectedly, disappointingly,
uncontrollably horrible to launch the Model 3. “I’ve been in severe emotional pain for the last
few weeks,” Musk elaborates. “Severe. It took every ounce of will to be able to do the Model 3
event and not look like the most depressed guy around. For most of that day, I was morbid.
And then I had to psych myself up: drink a couple of Red Bulls, hang out with positive people
and then, like, tell myself: ‘I have all these people depending on me. All right, do it!'”



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Minutes before the event, after meditating for pretty much the first time in his life to get
centered, Musk chose a very telling song to drive onstage to: “R U Mine?” by the Arctic
Monkeys.

Musk discusses the breakup for a few more minutes, then asks, earnestly, deadpan, “Is there
anybody you think I should date? It’s so hard for me to even meet people.” He swallows and
clarifies, stammering softly, “I’m looking for a long-term relationship. I’m not looking for a
one-night stand. I’m looking for a serious companion or soulmate, that kind of thing.”

I eventually tell him that it may not be a good idea to jump right into another relationship.
He may want to take some time to himself and figure out why his previous relationships
haven’t worked in the long run: his marriage to writer Justine Musk, his marriage to actress
Talulah Riley, and this new breakup with actress Amber Heard.

Musk shakes his head and grimaces: “If I’m not in love, if I’m not with a long-term
companion, I cannot be happy.”

I explain that needing someone so badly that you feel like nothing without them is textbook
codependence.

Musk disagrees. Strongly. “It’s not true,” he replies petulantly. “I will never be happy without
having someone. Going to sleep alone kills me.” He hesitates, shakes his head, falters,
continues. “It’s not like I don’t know what that feels like: Being in a big empty house, and the
footsteps echoing through the hallway, no one there – and no one on the pillow next to you.
Fuck. How do you make yourself happy in a situation like that?”

There’s truth to what Musk is saying. It is lonely at the top. But not for everyone. It’s lonely at
the top for those who were lonely at the bottom.

“When I was a child, there’s one thing I said,” Musk continues. His demeanor is stiff, yet in
the sheen of his eyes and the trembling of his lips, a high tide of emotion is visible, pushing
against the retaining walls. “‘I never want to be alone.’ That’s what I would say.” His voice
drops to a whisper. “I don’t want to be alone.”

A ring of red forms around his eyes as he stares forward and sits frozen in silence. Musk is a
titan, a visionary, a human-size lever pushing forward massive historical inevitabilities – the
kind of person who comes around only a few times in a century – but in this moment, he
seems like a child who is afraid of abandonment. And that may be the origin story of Musk’s
superambitions, but more on that later. In the meantime, Musk has something he’d like to
show me.

“If you say anything about what you’re about to see, it would cost us billions,” he says, rising
from his desk. “And you would be put in jail.”




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The most interesting tourist attraction in Los Angeles County is one that’s not in many
guidebooks: It’s in the otherwise-untouristed southwestern city of Hawthorne, around
SpaceX. If you walk along Crenshaw Boulevard from Jack Northrop Boulevard to 120th
Street, what you will see is a city of the future that’s under construction. This is Musk city, an
alternate reality, a triumph of futuristic imagination more thrilling than anything at a Disney
park. On the west side of the street, a 156-foot-tall rocket towers above SpaceX headquarters,
symbolizing Musk’s dream of relatively low-cost interplanetary travel. This particular rocket
booster was the first in human history to be launched into space, then recovered intact on
Earth after separating, and then fired back into space. On the east side of the street, an
employee parking lot has been dug up and turned into the first-ever tunnel for the Boring
Company, Musk’s underground-honeycomb solution to traffic jams and the future home of
all his terrestrial transportation projects. Then, running for a mile beside Jack Northrop
Boulevard, there’s a white vacuum tube along the shoulder of the road. This is the test track
for the Hyperloop, Musk’s high-speed form of city-to-city travel. Taken together, the dreams
of Musk city promise to connect the planet and the solar system in ways that will
fundamentally change humanity’s relationship to two of the most important facets of its
reality: distance and time.

But there is a particular building in Musk city that few have visited, and this is where Musk
takes me. It is the Tesla Design Studio, where he’s slated to do a walkthrough of the Tesla
Truck and other future vehicle prototypes with his team of designers and engineers.



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Outside the door, a guard takes my phone and audio recorder, and I’m given an old-
fashioned pen and paper to take notes on. Musk then continues into the building and reveals
the Tesla Truck, which aims to help the trucking industry go green. (Musk has even been
toying with creating a supersonic electric jet, with vertical takeoff and landing, in the future.)
Four key members of the Tesla team are there – Doug Field, JB Straubel, Franz von
Holzhausen, Jerome Guillen – and watch with anticipation as Musk explores a new
configuration of the cab for the first time.

Guillen explains the idea behind the truck: “We just thought, ‘What do people want? They
want reliability. They want the lowest cost. And they want driver comfort.’ So we reimagined
the truck.”

This is a perfect example of the idea that Musk-inspired wannabe visionaries around the
world worship like a religion: first principles thinking. In other words, if you want to create
or innovate, start from a clean slate. Don’t accept any ideas, practices or standards just
because everyone else is doing them. For instance, if you want to make a truck, then it must
be able to reliably move cargo from one location to another, and you must follow existing
laws of physics. Everything else is negotiable, including government regulations. As long as
you remember that the goal isn’t to reinvent the truck, but to create the best one, whether or
not it’s similar to past trucks.

As a result of this type of thinking, Musk is able to see an industry much more objectively
than others who’ve been in the field their whole lives.

“I was literally told this is impossible and I’m a huge liar,” Musk says of the early days of
Tesla. “But I have a car and you can drive it. This is not like a frigging unicorn. It’s real. Go
for a drive. It’s amazing. How can you be in denial?”

An unfortunate fact of human nature is that when people make up their mind about
something, they tend not to change it – even when confronted with facts to the contrary. “It’s
very unscientific,” Musk says. “There’s this thing called physics, which is this scientific
method that’s really quite effective for figuring out the truth.”

The scientific method is a phrase Musk uses often when asked how he came up with an idea,
solved a problem or chose to start a business. Here’s how he defines it for his purposes, in
mostly his own words:

1. Ask a question.

2. Gather as much evidence as possible about it.

3. Develop axioms based on the evidence, and try to assign a probability of truth to each one.




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4. Draw a conclusion based on cogency in order to determine: Are these axioms correct, are
they relevant, do they necessarily lead to this conclusion, and with what probability?5.
Attempt to disprove the conclusion. Seek refutation from others to further help break your
conclusion.6. If nobody can invalidate your conclusion, then you’re probably right, but you’re
not certainly right.

“That’s the scientific method,” Musk concludes. “It’s really helpful for figuring out the tricky
things.”

But most people don’t use it, he says. They engage in wishful thinking. They ignore
counterarguments. They form conclusions based on what others are doing and aren’t doing.
The reasoning that results is “It’s true because I said it’s true,” but not because it’s objectively
true.

“The fundamental intention of Tesla, at least my motivation,” Musk explains in his halting,
stuttering voice, “was to accelerate the advent of sustainable energy. That’s why I open-
sourced the patents. It’s the only way to transition to sustainable energy better.

“Climate change is the biggest threat that humanity faces this century, except for AI,” he
continues. “I keep telling people this. I hate to be Cassandra here, but it’s all fun and games
until somebody loses a fucking eye. This view [of climate change] is shared by almost
everyone who’s not crazy in the scientific community.”

For the next 20 minutes, Musk examines the Tesla Truck. He comments first on the technical
details, even ones as granular as the drawbacks and advantages of different types of welding.
He then moves on to the design, specifically a driver-comfort feature that cannot be specified
here, due to said threatened jail time.

“Probably no one will buy it because of this,” he tells his team. “But if you’re going to make a
product, make it beautiful. Even if it doesn’t affect sales, I want it to be beautiful.”




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According to Musk’s best guess, our personalities might be 80 percent nature and 20
percent nurture. Whatever that ratio actually is, if you want to understand the future that
Musk is building, it’s essential to understand the past that built him, including his fears of
human extinction and being alone.

For the first eight or so years of his life, Musk lived with his mother, Maye, a dietitian and
model, and his father, Errol, an engineer, in Pretoria, South Africa. He rarely saw either of
them.

“I didn’t really have a primary nanny or anything,” Musk recalls. “I just had a housekeeper
who was there to make sure I didn’t break anything. She wasn’t, like, watching me. I was off
making explosives and reading books and building rockets and doing things that could have
gotten me killed. I’m shocked that I have all my fingers.” He raises his hands and examines
them, then lowers his digits. “I was raised by books. Books, and then my parents.”




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Some of those books help explain the world Musk is building, particularly Isaac Asimov’s
Foundation series. The books are centered around the work of a visionary named Hari
Seldon, who has invented a scientific method of predicting the future based on crowd
behavior. He sees a 30,000-year Dark Ages waiting ahead for humankind, and creates a plan
that involves sending scientific colonies to distant planets to help civilization mitigate this
unavoidable cataclysm.

“Asimov certainly was influential because he was seriously paralleling Gibbon’s Decline and
Fall of the Roman Empire, but he applied that to a sort of modern galactic empire,” Musk
explains. “The lesson I drew from that is you should try to take the set of actions that are
likely to prolong civilization, minimize the probability of a dark age and reduce the length of
a dark age if there is one.”

Musk was around 10 at this time, and plunged in his own personal dark age. He’d recently
made a move that would change his life. It was a wrong decision that came from the right
place.

When his parents split up two years before, he and his younger siblings – Kimbal and Tosca
– stayed with their mom. But, Musk recounts, “I felt sorry for my father, because my mother
had all three kids. He seemed very sad and lonely by himself. So I thought, ‘I can be
company.'” He pauses while a movie’s worth of images seem to flicker through his mind.

“Yeah, I was sad for my father. But I didn’t really understand at the time what kind of person
he was.”

He lets out a long, sad sigh, then says flatly about moving in with Dad, “It was not a good
idea.”

According to Elon, Errol has an extremely high IQ – “brilliant at engineering, brilliant” – and
was supposedly the youngest person to get a professional engineer’s qualification in South
Africa. When Elon came to live with him in Lone Hill, a suburb of Johannesburg, Errol was,
by his own account, making money in the often dangerous worlds of construction and
emerald mining –at times so much that he claims he couldn’t close his safe.

“I’m naturally good at engineering that’s because I inherited it from my father,” Musk says.
“What’s very difficult for others is easy for me. For a while, I thought things were so obvious
that everyone must know this.”

Like what kinds of things?

“Well, like how the wiring in a house works. And a circuit breaker, and alternating current
and direct current, what amps and volts were, how to mix a fuel and oxidizers to create an
explosive. I thought everyone knew this.”




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But there was another side to Musk’s father that was just as important to making Elon who
he is. “He was such a terrible human being,” Musk shares. “You have no idea.” His voice
trembles, and he discusses a few of those things, but doesn’t go into specifics. “My dad will
have a carefully thought-out plan of evil,” he says. “He will plan evil.”

Besides emotional abuse, did that include physical abuse?

“My dad was not physically violent with me. He was only physically violent when I was very
young.” (Errol countered via email that he only “smacked” Elon once, “on the bottom.”)

Elon’s eyes turn red as he continues discussing his dad. “You have no idea about how bad.
Almost every crime you can possibly think of, he has done. Almost every evil thing you could
possibly think of, he has done. Um…”

There is clearly something Musk wants to share, but he can’t bring himself to utter the words,
at least not on the record. “It’s so terrible, you can’t believe it.”

The tears run silently down his face. “I can’t remember the last time I cried.” He turns to
Teller to confirm this. “You’ve never seen me cry.”

“No,” Teller says. “I’ve never seen you cry.”

The flow of tears stops as quickly as it began. And once more, Musk has the cold, impassive,
but gentle stone face that is more familiar to the outside world.

Yet it’s now clear that this is not the face of someone without emotions, but the face of
someone with a lot of emotions who had been forced to suppress them in order to survive a
painful childhood.

When asked about committing crimes, Musk’s father said that he has never intentionally
threatened or hurt anyone, or been charged with anything, except … in this one case, he says
he shot and killed three out of five or six armed people who broke into his home, and was
later cleared of all charges on self-defense.

In his e-mail, Errol wrote: “I’ve been accused of being a Gay, a Misogynist, a Paedophile, a
Traitor, a Rat, a Shit (quite often), a Bastard (by many women whose attentions I did not
return) and much more. My own (wonderful) mother told me I am ‘ruthless’ and should learn
to be more ‘humane.'” But, he concluded, “I love my children and would readily do whatever
for them.”

As an adult, Musk, with the same optimism with which he moved in with his father as a child,
moved his dad, his father’s then-wife and their children to Malibu. He bought them a house,
cars and a boat. But his father, Elon says, hadn’t changed, and Elon severed the relationship.




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“In my experience, there is nothing you can do,” he says about finally learning the lesson that
his dad will never change. “Nothing, nothing. I wish. I’ve tried everything. I tried threats,
rewards, intellectual arguments, emotional arguments, everything to try to change my father
for the better, and he… no way, it just got worse.”

Somewhere in this trauma bond is the key to Musk’s worldview – creation against
destruction, of being useful versus harmful, of defending the world against evil.

Things at school weren’t much better than life at home. There, Musk was brutally bullied –
until he was 15 years old.

“For the longest time, I was the youngest and the smallest kid in the class because my
birthday just happens to fall on almost the last day that they will accept you into school, June
28th. And I was a late bloomer. So I was the youngest and the smallest kid in class for years
and years. …The gangs at school would hunt me down – literally hunt me down!”

Musk put down the books and started learning to fight back – karate, judo, wrestling. That
physical education, combined with a growth spurt that brought him to six feet by age 16, gave
him some confidence and, as he puts it, “I started dishing it out as hard as they’d give it to
me.”

When he got into a fight with the biggest bully at school and knocked him out with one
punch, Musk noticed that the bully never picked on him again. “It taught me a lesson: If
you’re fighting a bully, you cannot appease a bully.” Musk speaks the next words forcefully.
“You punch the bully in the nose. Bullies are looking for targets that won’t fight back. If you
make yourself a hard target and punch the bully in the nose, he’s going to beat the shit out of
you, but he’s actually not going to hit you again.”

When he was 17, Musk left college and moved to his mother’s home country, Canada, later
obtaining passports for his mother, brother and sister to join him there. His father did not
wish him well, Musk recalls. “He said rather contentiously that I’d be back in three months,
that I’m never going to make it, that I’m never going to make anything of myself. He called
me an idiot all the time. That’s the tip of the iceberg, by the way.”




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After Musk became successful, his father even took credit for helping him – to such a
degree that it’s listed as fact in Elon’s Wikipedia entry. “One thing he claims is he gave us a
whole bunch of money to start, my brother and I, to start up our first company [Zip2, which
provided online city guides to newspapers]. This is not true,” Musk says. “He was irrelevant.
He paid nothing for college. My brother and I paid for college through scholarships, loans
and working two jobs simultaneously. The funding we raised for our first company came
from a small group of random angel investors in Silicon Valley.”

Musk’s career history decorates his desk. There’s an item from nearly all of his companies,
even a mug for X.com, the early online bank he started, which became PayPal. The sale of
Zip2 resulted in a $22 million check made out directly to Musk, which he used in part to start
X.com. With the roughly $180 million post-tax amount he made from the sale of PayPal, he
started SpaceX with $100 million, put $70 million into Tesla, invested $10 million into Solar
City, and saved little for himself.

One of the misunderstandings that rankles Musk most is being pigeonholed and narrowcast,
whether as the real-life Tony Stark or the second coming of Steve Jobs. When, at a photo
shoot, he was asked to wear a black turtleneck, the trademark garb of Jobs, he bristled. “If I
was dying and I had a turtleneck on,” he tells me, “with my last dying breath, I would take the
turtleneck off and try to throw it as far away from my body as possible.”

So what is Musk about?



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“I try to do useful things,” he explains. “That’s a nice aspiration. And useful means it is of
value to the rest of society. Are they useful things that work and make people’s lives better,
make the future seem better, and actually are better, too? I think we should try to make the
future better.”

When asked to define “better,” Musk elaborates, “It would be better if we mitigated the
effects of global warming and had cleaner air in our cities and weren’t drilling for vast
amounts of coal, oil and gas in parts of the world that are problematic and will run out
anyway.

“And if we were a multiplanetary species, that would reduce the possibility of some single
event, man-made or natural, taking out civilization as we know it, as it did the dinosaurs.
There have been five mass-extinction events in the fossil record. People have no
comprehension of these things. Unless you’re a cockroach or a mushroom – or a sponge –
you’re fucked.” He laughs sharply. “It’s insurance of life as we know it, and it makes the
future far more inspiring if we are out there among the stars and you could move to another
planet if you wanted to.”

This, then, is the ideology of Musk. And though basic, it’s actually very rare. Think of the
other names that one associates with innovation this century: They’re people who built
operating systems, devices, websites or social-media platforms. Even when it didn’t start out
that way, the ideology in most cases soon became: How can I make my company the center of
my users’ world? Consequently, social-media sites like Facebook and Twitter use a number of
tricks to activate the addictive reward centers of a user’s brain.

If Musk’s employees suggested doing something like this, he’d probably look at them like
they were crazy. This type of thinking doesn’t compute. “It’s really inconsistent to not be the
way you want the world to be,” he says flatly, “and then through some means of trickery,
operate according to one moral code while the rest of the world operates according to a
different one. This is obviously not something that works. If everyone’s trying to trick
everyone all the time, it’s a lot of noise and confusion. It’s better just to be straightforward
and try to do useful things.”

He discusses building a permanent moon base, and further funding SpaceX by creating
passenger rockets capable of traveling to any city in the world in less than an hour, a form of
transport he calls “Earth-to-Earth.” I ask if there’s anything that he believes works that
surprises people.

“I think being precise about the truth works. Truthful and precise. I try to tell people, ‘You
don’t have to read between the lines with me. I’m saying the lines!'”

On another occasion, I watch Musk at a weekly SpaceX engineering-team meeting, where
eight experts sit around a table in high-backed red chairs, showing Musk a PowerPoint with
the latest updates to the Mars spaceship design. And while Musk keeps pace on technical


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details with some of the most brilliant minds in aerospace, he also adds an element that goes
beyond logistics and engineering.

“Make sure it doesn’t look ugly or something,” he advises at one point. Then, later, “The
aesthetics of this one are not so great. It looks like a scared lizard.” And, in a
characteristically wry moment, “When you land on Mars, you want the list of what you have
to worry about to be small enough that you’re not dead.”

Overall, there’s a theme to Musk’s feedback: First, things have to be useful, logical and
scientifically possible.

Then he looks to improve efficiency on every level: What are people accepting as an industry
standard when there’s room for significant improvement?

From there, Musk pushes for the end product to be aesthetically beautiful, simple, cool, sleek
(“He hates seams,” says one staffer) and, as Musk puts it at one point in the meeting,
“awesome.”

Throughout this process, there’s an additional element that very few companies indulge in:
personalization. This usually involves Musk adding Easter eggs and personal references to
the products, such as making the Tesla sound-system volume go to 11 (in homage to Spinal
Tap) or sending a “secret payload” into space in his first Dragon launch that turned out to be
a wheel of cheese (in homage to Monty Python).

Beyond all this, most maddening or exciting for Musk’s employees, depending on which one
you ask, is the time scale on which he often expects work to be done. For example, one Friday
when I was visiting, a few SpaceX staff members were frantically rushing back and forth from
the office to the parking lot across the street. It turns out that during a meeting, he asked
them how long it would take to remove staff cars from the lot and start digging the first hole
for the Boring Company tunnel. The answer: two weeks.

Musk asked why, and when he gathered the necessary information, he concluded, “Let’s get
started today and see what’s the biggest hole we can dig between now and Sunday afternoon,
running 24 hours a day.” Within three hours, the cars were gone and there was a hole in the
ground.

On the other hand, one thing Musk is notorious for is setting ambitious deadlines that he
often can’t meet. The Roadster, the Model S and the Model X were all delayed from his
original timeline, and now the Model 3 – with its nearly half-a-million-person-long waiting
list – is experiencing its own production delays. There are many reasons for this, but Musk
summarizes: “Better to do something good and be late than bad and be early.” So expect
Musk to get it done, just not on time. Because if he can’t do it, he won’t pretend otherwise.




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“I expect to lose,” Musk says. He’s in a three-story building in San Francisco that has only
recently been furnished. It used to belong to Stripe, the credit-card payment processor, but
now belongs to Musk, who’s housing two of his companies there: Neuralink and OpenAI.

These are visions of what Tesla or SpaceX may have looked like when they first began. A
small group of excited people working with limited resources to hit a distant, ambitious
target. But unlike Tesla and SpaceX, there aren’t anything close to road maps toward these
goals, nor are they so clear-cut.

OpenAI is a nonprofit dedicated to minimizing the dangers of artificial intelligence, while
Neuralink is working on ways to implant technology into our brains to create mind-computer
interfaces.

If it sounds like those are contradictory ideas, think again. Neuralink allows our brains to
keep up in the intelligence race. The machines can’t outsmart us if we have everything the
machines have plus everything we have. At least, that is if you assume that what we have is
actually an advantage.

It’s an unusual day at the office: Musk is showing a documentary about artificial intelligence
to the Neuralink staff. He stands in front of them as they sit splayed on couches and chairs,
and lays out the grim odds of his mission to make AI safe: “Maybe there’s a five to 10 percent
chance of success,” he says.



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The challenge he’s up against with OpenAI is twofold. First, the problem with building
something that’s smarter than you is … that it’s smarter than you. Add to that the fact that AI
has no remorse, no morality, no emotions – and humanity may be in deep shit. This is the
good son’s second chance against the remorseless father he couldn’t change.

The other challenge is that OpenAI is a nonprofit, and it’s competing with the immense
resources of Google’s DeepMind. Musk tells the group he in fact invested in DeepMind with
the intention of keeping a watchful eye on Google’s AI development.

“Between Facebook, Google and Amazon – and arguably Apple, but they seem to care about
privacy – they have more information about you than you can remember,” he elaborates to
me. “There’s a lot of risk in concentration of power. So if AGI [artificial general intelligence]
represents an extreme level of power, should that be controlled by a few people at Google
with no oversight?”

“Sleep well,” Musk jokes when the movie ends. He then leads a discussion about it, writing
down some ideas and bluntly dismissing others. As he’s speaking, he reaches into a bowl,
grabs a piece of popcorn, drops it in his mouth and starts coughing.

“We’re talking about threats to humanity,” he mutters, “and I’m going to choke to death on
popcorn.”

It is 9 p.m. on a Thursday night, and I’m waiting in the foyer of Musk’s Bel Air home for our
final interview. He walks down the stairs a few minutes later, wearing a T-shirt depicting
Mickey Mouse in space. A tall blond woman follows him down the stairs.

He is, true to his words, not alone.

The woman, it turns out, is Talulah Riley, his second wife. They met in 2008, and Musk
proposed after 10 days together. They married in 2010, then divorced two years later, then
remarried the following year, then filed for divorce again, then withdrew the filing, then re-
filed for divorce and finally followed through with it.

Musk suggests doing something rare for him: drinking. “My alcohol tolerance is not very
high,” he says. “But I tend to be a fuzzy bear when I drink. I go happy fuzzy.”

He pours two glasses of whiskey for us, and the three of us adjourn to his living room, where
there’s a mechanical Edison phonograph, an Enigma machine and a short-wave radio from
World War I on display.

During the interview, Riley lounges on the couch nearby, half paying attention to the
conversation, half paying attention to her phone.




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Musk is in a different mood than he was at SpaceX, and that’s something that those who’ve
come to know Musk observe. One moment, he may be reciting favorite lines from an
animated TV show he just saw, the next he may be curtly giving detailed instructions, the
next he may be ignoring you while lost in a thought, the next he may be asking for your
advice on a problem, the next he may be breathless with laughter while riffing on a humorous
tangent for five minutes, the next he may be acting as if you’ve both never met. And through
it all, you learn not to take it personally, because chances are that it has nothing to do with
you.

We start off talking, or at least with me trying to talk, about AI, because a few weeks earlier,
Musk had tweeted, “Competition for AI superiority at national level most likely cause of
WW3 imo.”

But when I ask him about that, Musk gets testy. “I don’t have all the answers. I’m not saying
that I have all the fucking answers. Let me be really clear about that. I’m trying to figure out
the set of actions I can take that are more likely to result in a good future. If you have
suggestions in that regard, please tell me what they are.”

Riley chimes in: “I think just the way it gets couched is that ‘Elon Musk says we’re all gonna
die,’ as opposed to ‘Hey, let’s have some regulation.'”

Musk, it soon becomes clear, is not in the mood to talk about his work. Instead, he has some
advice he’d like to offer to the world from his personal experience: “I find one learns lessons
in the course of life,” he begins with a wry half-smile. “And one lesson I’ve learned is, don’t
tweet on Ambien. That’s on the record: Tweeting on Ambien is unwise. You may regret it.”

Musk grabs a coffee-table book published by The Onion and starts leafing through it,
laughing hysterically. “In order to understand the essential truth of things,” he theorizes, “I
think you can find it in The Onion and occasionally on Reddit.”

Afterward, he asks excitedly, “Have you ever seen Rick and Morty?” And the conversation
bounces from that animated show to South Park to The Simpsons to the book Hitchhiker’s
Guide to the Galaxy.

One of the lines from Hitchhiker’s, Musk says, ended up being Musk Family Rule Number
One: “Don’t panic.”

“The boys were quite skittish about all kinds of things,” Riley explains.

“That’s our other rule,” Musk continues. “Safety third. There’s not even a Rule Number Two.
But even though there’s nothing in second place, safety is not getting promoted to number
two.”




                                                                                                   19/20
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We’re interrupted by Teller, Musk’s chief of staff, who informs him that as we were talking,
the Hawthorne City Council ended an hours-long debate with a 4-to-1 vote allowing Musk to
burrow his tunnel two miles into the city.

“Good,” Musk says. “Now we can dig past our own property line. Dig like fiends!”

He laughs at the expression, and I understand now that Musk didn’t have me over to talk
about his projects and vision. There’s nothing to be gained from talking about the problems
of science with someone who doesn’t understand them. At the end of the day, he just wants to
unwind and laugh about the world he’s trying to improve.

I
leave his home still hearing his chuckles in the doorway, and hoping that when
the Mars colony builds its first statues of Musk, they’re not of a stiff man
with a tight-lipped expression looking out into space, but of a fuzzy bear.




                                                                                               20/20
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              EXHIBIT E
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              EXHIBIT F
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              EXHIBIT G
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             EXHIBIT H
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               EXHIBIT I
                                                                       Case 3:18-cv-04865-EMC Document 365-1 Filed 02/01/22 Page 41 of 134
                                                                                                       Tesla Stock Prices
                                                                                                Open, Close and 10-Min Intervals
$420                                                                                            August 7, 2018 - August 17, 2018




$400




                             $379.57
$380


                                                   $370.34
                                $369.09             $365.55

$360                                                                                                      $361.13               $358.45
                                                                                 $354.00
                                                                       $352.45
                                                                                                      $355.49                 $356.41
                                                                                                                                                              $347.64

                                                                                                                                                               $341.91                $339.91
$340   $343.84

                                                                                                                                                                                                          $335.45
                                                                                                                                                                                   $338.69



                                                                                                                                                                                                           $323.50
$320



                                                                                                                                                                                                                               $305.50


$300




$280




$260

                 8/7/18                   8/8/18              8/9/18                       8/10/18                  8/13/18               8/14/18                        8/15/18                8/16/18              8/17/18



                                                                          Stock Price                                                     Opening / Closing Prices
 Sources: CRSP, Bloomberg.
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               EXHIBIT J
                    (filed under seal)
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             EXHIBIT K
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              EXHIBIT L
                    (filed under seal)
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             EXHIBIT M
                                                                                                                                                         CORE
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                                                                                                                                         Equity Research
                                                                                                                  Industrials | U.S. Autos & Auto Parts
                                                                                                                                       14 August 2018

Tesla, Inc.
Time for even ‘blue pillers’ to cash                                                               Stock Rating                            UNDERWEIGHT
                                                                                                                                                     Unchanged

out?                                                                                               Industry View                                     NEUTRAL
                                                                                                                                                     Unchanged

                                                                                                   Price Target                                     USD 210.00
Tesla’s blog post on Monday 8/13/18 makes it clearer buyout is still in early stages,
                                                                                                                                                     Unchanged
and board has much work to do; maintain UW: Yesterday Elon Musk’s blog post made
it clear – as we suspected last week – that any go-private transaction still had numerous
                                                                                                   Price (13-Aug-2018)                               USD 356.41
hurdles in front of it. While we’re not positive that potential private investors will see
                                                                                                   Potential Upside/Downside                            -41.1%
our ‘red pill’ logic, and hence a successful deal would have upside risk, we reiterate our         Tickers                                                TSLA
UW and $210 price target. What that means is that taking money off the table at
current prices could be better than risking a deal falling through (and litigation risk) and       Market Cap (USD mn)                                   60801
if not now, that asking for the $420 in cash, as per Elon Musk tweet, is a better deal             Shares Outstanding (mn)                               170.59
than illiquid equity in a private Tesla.                                                           Free Float (%)                                         74.81
                                                                                                   52 Wk Avg Daily Volume (mn)                              7.2
Tesla is not the only avenue for SWFs to diversify away from oil. While we don’t                   52 Wk Avg Daily Value (USD mn)                          N/A
dispute the bull argument that there are trillions of dollars in SWFs backed by oil                Dividend Yield (%)                                      N/A
receipts, we would argue that the growing EV market has numerous other public and                  Return on Equity TTM (%)                              -44.37
private investment opportunities that provide a hedge against the ‘peak oil’ argument.             Current BVPS (USD)                                     22.91
                                                                                                   Source: Thomson Reuters

Institutional investors need to weigh the illiquidity and funding disadvantages of
private stakes with the benefits of management focus. Institutional investors may                  Price Performance                     Exchange-Nasdaq
also need to consider the lack of transparency and eventual liquidity inherent in a                52 Week range                        USD 389.61-244.59

private stake.



TSLA: Quarterly and Annual EPS (USD)
             2017                 2018                          2019              Change y/y

 FY Dec     Actual      Old       New        Cons       Old      New      Cons    2018   2019      Link to Barclays Live for interactive charting

Q1          -1.33A     -3.36A    -3.36A     -3.35A      N/A       N/A     0.51E   N/A    N/A
Q2          -1.33A     -3.06A    -3.06A     -3.06A      N/A       N/A     0.89E   N/A    N/A
Q3          -2.92A     -0.13E     -0.13E    -0.40E      N/A       N/A     1.36E   96%    N/A       U.S. Autos & Auto Parts
                                                                                                   Brian A. Johnson
Q4          -3.05A     -0.43E     -0.43E     0.74E      N/A       N/A     1.78E   86%    N/A
                                                                                                   +1 212 526 5627
Year        -8.67A     -6.24E     -6.24E    -5.50E    -2.47E    -2.47E    2.89E   28%    60%       brian.a.johnson@barclays.com
P/E           N/A                  N/A                            N/A                              BCI, US
Source: Barclays Research.
Consensus numbers are from Thomson Reuters received on 13-Aug-2018; 13:35 GMT                      Steven Hempel, CFA
                                                                                                   +1 312 609 7260
                                                                                                   steven.hempel@barclays.com
                                                                                                   BCI, US




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PLEASE SEE ANALYST CERTIFICATION(S) AND IMPORTANT DISCLOSURES BEGINNING ON PAGE 7.
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U.S. Autos & Auto Parts                                                                                                   Industry View: NEUTRAL

Tesla, Inc. (TSLA)                                                                                                   Stock Rating: UNDERWEIGHT


Income statement ($mn)                    2017A     2018E     2019E     2020E      CAGR      Price (13-Aug-2018)                         USD 356.41
Revenue                                   11,759    20,551    28,681    33,523     41.8%     Price Target                                USD 210.00
EBITDA (adj)                                 471     1,282     1,971     3,007     85.5%     Why Underweight? In spite of an impressive set of
EBIT (adj)                                -1,165      -681      -220       626       N/A     products and early leadership in the field of vehicle
Pre-tax income                            -3,316    -2,745    -3,063    -2,566       N/A     electrification, we see Tesla shares as overvalued. We
Net income (adj)                          -1,437    -1,189      -453       289       N/A     believe the stock is not accounting for the risks and
                                                                                             challenges inherent in Tesla's lofty growth ambitions.
EPS (adj) ($)                              -8.67     -6.24     -2.47      1.51       N/A
Diluted shares (mn)                          166       174       183       192      5.0%
DPS ($)                                     0.00      0.00      0.00      0.00       N/A     Upside case                               USD 603.00
                                                                                             Applying our scenario-based valuation methodology,
                                                                                             Tesla could have a $603 stock if ~1/3 of the market
Margin and return data                                                            Average
                                                                                             adopts our dream scenario approach, which envisions
EBITDA (adj) margin (%)                     -6.0       3.0       2.1       4.0         0.8
                                                                                             Tesla as a mass market OEM, while also giving it
EBIT (adj) margin (%)                      -21.3      -6.9      -5.9      -3.5        -9.4   credit for growth in other businesses.
Pre-tax margin (%)                         -31.1     -13.9     -11.2      -8.1      -16.1
Net (adj) margin (%)                       -31.4     -14.0      -9.5      -6.6      -15.4    Downside case                                USD 69.00
ROIC (%)                                   -22.9      -9.5      -7.8      -6.5      -11.7    Applying our scenario-based valuation methodology,
ROA (%)                                    -10.1      -6.3      -5.7      -3.1        -6.3   if the market perceives Tesla will remain a small niche
ROE (%)                                    -51.1     -27.5     -19.4     -11.1      -27.3    luxury player at best with low operating margins and
                                                                                             little upside from other businesses, Tesla stock could
Balance sheet and cash flow ($mn)                                                  CAGR      be only $69.
Tangible fixed assets                     10,028    11,307    12,411    13,212      9.6%
Cash and equivalents                       3,368     3,701       920     7,872     32.7%     Upside/Downside scenarios
Total assets                              28,655    32,343    31,293    40,920     12.6%
Short and long-term debt                   7,755     8,953     9,294    10,379     10.2%
Other long-term liabilities                2,443     2,607     2,607     2,607      2.2%
Total liabilities                         23,023    24,962    22,028    29,284      8.3%
Net debt/(funds)                          -4,387    -5,252    -8,374    -2,506       N/A
Shareholders' equity                       5,632     7,381     9,265    11,636     27.4%
Change in working capital                 -1,473      -235     2,881    -4,884       N/A
Cash flow from operations                    -61       296    -2,468     6,921       N/A
Capital expenditure                       -3,415    -2,665    -3,295    -3,181       N/A
Free cash flow                            -2,077    -2,407    -5,495     3,758       N/A

Valuation and leverage metrics                                                    Average
P/E (adj) (x)                               N/A       N/A       N/A       N/A        N/A
EV/EBITDA (adj) (x)                        113.4      41.0      25.1      18.4       49.5
P/Sales (x)                                  4.9       2.8       2.0       1.7         2.9
P/BV (x)                                    10.5       8.4       7.1       5.9         8.0
Dividend yield (%)                           0.0       0.0       0.0       0.0         0.0
Total debt/capital (%)                      57.9      54.8      50.1      47.1       52.5
Net debt/EBITDA (adj) (x)                    6.9      -8.8     -14.6      -2.0        -4.6

Selected operating metrics
Gross margin (%)                            10.9      11.3      12.6      13.0
FCF/NI (x)                                    0.7       1.2       3.1      -2.9
Model S shipments                         54,786    46,170    42,476    39,078
Model S ASP ($)                             99.8      89.2      87.4      85.7
Model X shipments                         46,631    47,745    50,132    51,636
Model X ASP ($)                            105.3     101.8     100.2      98.7

Source: Company data, Barclays Research
Note: FY End Dec




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                            Thoughts on going private
                            Tesla’s Monday update makes it clear the process is in early stages
                            Last week, Elon Musk posted several tweets/replies that made it seem that a go-private deal
                            at $420/share was very close. These tweets included 1:

                                        Am considering taking Tesla private at $420. Funding secured.

                                        My hope is *all* current investors remain with Tesla even if we’re private. Would
                                        create special purpose fund enabling anyone to stay with Tesla. Already do this with
                                        Fidelity’s SpaceX investment.

                                        Shareholders could either to sell at 420 or hold shares & go private

                                        Def no forced sales. Hope all shareholders remain. Will be way smoother & less
                                        disruptive as a private company. Ends negative propaganda from shorts.

                            At the time, we expressed some scepticism that the funding was fully secured, and that
                            individual investors could remain holding private shares (see Tesla: Musing about going
                            private is the latest strange twist; 7 August 2018).

                            And on Monday 13 August 2018, an updated blog post on the Tesla site2 from Mr. Musk
                            made it clear that the funding was in its very early stages. While we leave it to the lawyers
                            in the various class action suits to debate the scienter requirement as it pertains to the
                            original statement “funding secured”, the blog post made it clear that:

                                         The Aug 7 tweet was based on a July 31 meeting with a “Managing Director” of
                                          the Saudi Arabian sovereign wealth fund and followed meetings “going back
                                          almost two years” over taking Tesla private.

                                         At the July 31 meeting “the Managing Director of the fund expressed regret that I
                                          had not moved forward previously on a going private transaction with them, and
                                          he strongly expressed his support for funding a going private transaction for Tesla
                                          at this time. I understood from him that no other decision makers were needed
                                          and that they were eager to proceed.”

                                         Based on this, Mr. Musk believed that there was “no question that a deal with the
                                          Saudi sovereign fund could be closed, and that it was just a matter of getting the
                                          process moving. This is why I referred to “funding secured” in the August 7th
                                          announcement.”

                                         The conversation turned to the need for more typical investment due diligence:
                                          “He has expressed support for proceeding subject to financial and other due
                                          diligence and their internal review process for obtaining approvals. He has also
                                          asked for additional details on how the company would be taken private, including
                                          any required percentages and any regulatory requirements.”

                                         And of course, as in any go private transaction, an independent board committee
                                          would need to review a detailed proposal and, if approved, get required regulatory
                                          approvals before presenting the plan to shareholders for a vote.

                            So based on this, we would argue that generously speaking, the deal making process is in
                            the early stages, with the need to recruit additional investors as well as undergo due
                            diligence. And with the prospect of foreign sovereign wealth funds, CFIUS approval might
                            be necessary (depending on the extent of foreign control).

                            1   See https://twitter.com/elonmusk
                            2   https://www.tesla.com/blog/update-taking-tesla-private

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                            And we would also note that the updated blog provides no update on how a transaction
                            could be structured to allow existing retail shareholders to roll over into a private Tesla
                            (something we are sceptical of how Tesla could avoid the caps on the number of non-
                            accredited, non-employee shareholders that creates the threshold for SEC filings).

                            We agree there’s plenty of SWF money
                            As we understand, Mr. Musk believes that most investors would roll over (we have our
                            doubts, see next section) and that only 1/3rd of shares would need to be paid off for with
                            cash. We also would stipulate in favour of the bulls that there are a number of large oil-
                            backed sovereign wealth funds (SWFs) that may view Tesla as a hedge against ‘peak oil’
                            (see Appendix). In addition to the Saudi Arabia Public Investment Fund, the oil-rich funds
                            include ~$1trilllion in Norway, another $1trillion between UAE and Dubai, not to mention
                            numerous other funds (e.g. Kazakhstan with more than $100bn).

                            But we would point out that Tesla is by no means the only way to invest in an electric
                            vehicle (EV) future. A SWF could buy any number of private Chinese EV companies,
                            especially if China is going to be the most rapid adapter of electric vehicles. Or it could
                            invest in battery tech or precursor metals like lithium and cobalt. So as glamorous as Tesla
                            seems to be as a holding, we're not sure if it's the best much less the only way to diversify
                            away from oil.

                            Why it does – and doesn’t - makes sense to go private
                            In the last week since Elon Musk’s tweet about going private with “funding secured”, we
                            have found common ground for the first time between the “blue pill” bullish boosters of
                            TSLA our “red pill” bearish view (for a description of our red pill/blue pill thesis see lead -
                            Red-pilling the Tesla bull case – 4/6/17; and a follow-up – Challenging the blue pill pillars of
                            faith, 3/29/18). We actually agree with the bulls that Tesla might be better off as a private
                            company. Mr. Musk would be free to build his vision for a sustainable transportation and
                            energy company without the distraction of our quarterly analyst calls, rude Twitter short
                            sellers/trolls or the bad vibes from seeing a stock price occasionally go down. But as
                            emotionally satisfying as this might be, SWFs who are contemplating putting in fresh cash,
                            and especially institutional investors who are contemplating exchanging liquid TSLA
                            exchange-traded shares should also consider the downsides of private ownership, which
                            include:

                             The need for additional funding – either just to support expansion (blue pill view) or to
                                   support expansion as well as operating losses (our view). While Tesla bulls and
                                   management see 3Q18 as the turning point for a sustainable, self-supporting company,
                                   even the bulls would agree that Tesla will need to tap external markets for capital for
                                   additional gigafactories. Indeed, on the 2Q18 release Tesla said that it would seek debt
                                   financing in China to finance a China factory. And in our model, we see ongoing
                                   operating losses (in part by the need to grow R&D for new models and SG&A to support
                                   higher volumes) that could require additional fundraising.

                             Lack of publically filed financials, and ‘crowd sourced’ analysis of those filings. While
                                   Tesla bears get criticized for their tweets and Seeking Alpha articles (which lead one
                                   writer to cease and desist allegedly under pressure from Tesla 3), we would argue that
                                   the free flow of both bullish and bearish commentary on the name can help investors in
                                   their own analyses.

                             Lack of liquidity around the position. While locking in investors is good from the CEO’s
                                   point of view to avoid a short-term focus, nevertheless institutional investors would lose
                                   the ability to pivot away from Tesla should their view on auto sales, EV margins change

                            3   See je Suis Montana Skeptic, https://ftalphaville.ft.com/2018/07/27/1532692760000/Je-suis-Montana-Skeptic/

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                                                or if fund-drawdowns create the need to return cash to their investors (which could lead
                                                to an over-concentrated position within the fund).

                                             We agree that the institutional ownership of Tesla is highly concentrated, with the top 10
                                             holders beyond Musk holding ~43% (thus ~63% with Musk), although this may change
                                             when all the 2Q filings are in). But we are less clear on how each fund has latitude to hold
                                             private investments. Fidelity for example doesn’t allow its managers to have more than 10%
                                             of a fund’s assets in private companies.


FIGURE 1
Tesla ownership

 Ownership %                                                                                                      Cumulative ownership %
   25%                                                                                                                               80%
                                                                                                                                     70%
   20%                                                                                                                               60%
   15%                                                                                                                               50%
                                                                                                                                     40%
   10%                                                                                                                               30%
     5%                                                                                                                              20%
                                                                                                                                     10%
     0%                                                                                                                              0%




                                                            % Outstanding         Cumulative
Source: Thomson Reuters, Barclays Research




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                                             Appendix
FIGURE 2
Top 40 sovereign wealth funds
 Country                    Name                                                Assets (USD bn)   Origin
 Norway                     Government Pension Fund - Global                        $1,035        Oil
 China                      China Investment Corporation                             $941         Non-Commodity
 UAE                        Abu Dhabi Investment Authority                           $683         Oil
 Kuwait                     Kuwait Investment Authority                              $592         Oil
 Hong Kong                  Hong Kong Monetary Authority Investment Portfolio        $523         Non-Commodity
 Saudi Arabia               SAMA Foreign Holdings                                    $494         Oil
 China                      SAFE Investment Company                                  $441         Non-Commodity
 Singapore                  Government of Singapore Investment Corporation           $390         Non-Commodity
 Singapore                  Temasek Holdings                                         $375         Non-Commodity
 Qatar                      Qatar Investment Authority                               $320         Oil
 China                      National Social Security Fund                            $295         Non-Commodity
 Saudi Arabia               Public Investment Fund                                   $250         Oil
 UAE                        Investment Corporation of Dubai                          $230         Non-Commodity
 South Korea                Korea Investment Corporation                             $134         Non-Commodity
 UAE                        Mubadala Investment Company                              $125         Oil
 UAE                        Abu Dhabi Investment Council                             $123         Oil
 Australia                  Australian Future Fund                                   $105         Non-Commodity
 Iran                       National Development Fund of Iran                        $91          Oil
 Russia                     National Welfare Fund                                    $66          Oil
 Libya                      Libyan Investment Authority                              $66          Oil
 U.S.                       Alaska Permanent Fund Corporation                        $62          Oil
 Kazakhstan                 Samruk-Kazyna JSC                                        $61          Non-Commodity
 Kazakhstan                 Kazakhstan National Fund                                 $58          Oil
 Brunei                     Brunei Investment Agency                                 $40          Oil
 Turkey                     Turkey Wealth Fund                                       $40          Non-commodity
 Malaysia                   Khazanah Nasional                                        $39          Non-Commodity
 U.S.                       Texas Permanent School Fund                              $38          Oil
 UAE                        Emirates Investment Authority                            $34          Oil
 Azerbaijan                 State Oil Fund                                           $33          Oil
 New Zealand                New Zealand Superannuation Fund                          $29          Non-Commodity
 U.S.                       New Mexico State Investment Council                      $20          Oil
 Oman                       State General Reserve Fund                               $18          Oil
 U.S.                       Permanent University Fund                                $17          Oil
 East Timor                 Timor-Leste Petroleum Fund                               $17          Oil
 Chile                      Social and Economic Stabilization Fund                   $15          Copper
 Canada                     Alberta's Heritage Fund                                  $13          Oil
 Russia                     Russian Direct Investment Fund                           $13          Non-Commodity
 Bahrain                    Mumtalakat Holding Company                               $11          Non-Commodity
 Chile                      Pension Reserve Fund                                      $9          Copper
 Ireland                    Ireland Strategic Investment Fund                         $9          Non-Commodity
                            Top 40                                                 $7,854
                            Others                                                   $92
                            Total                                                   $7,946
                            Total O&G related                                       $4,066

Source: Sovereign Wealth Fund Institute

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ANALYST(S) CERTIFICATION(S):
I, Brian A. Johnson, hereby certify (1) that the views expressed in this research report accurately reflect my personal views about any or all of the
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Tesla, Inc. (TSLA)                                 Veoneer Inc. (VNE)                              Visteon Corp. (VC)


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IMPORTANT DISCLOSURES CONTINUED
Tesla, Inc. (TSLA / TSLA)                                                                Stock Rating                                               Industry View
USD 356.41 (13-Aug-2018)                                                                 UNDERWEIGHT                                                    NEUTRAL
Rating and Price Target Chart - USD (as of 13-Aug-2018)                                  Currency=USD
                                                                                         Publication Date    Closing Price       Rating            Adjusted Price
                                                                                                                                                          Target
   400
                                                                                         13-Sep-2017            366.23                                     210.00
                                                                                         09-Feb-2016            148.25                                     165.00
   350
                                                                                         09-Oct-2015            220.69       Underweight                   180.00
                                                                                         On 13-Aug-2015, prior to any intra-day change that may have been
   300
                                                                                         published, the rating for this security was Equal Weight, and the adjusted
                                                                                         price target was 190.00.
   250                                                                                   Source: Thomson Reuters, Barclays Research
                                                                                         Historical stock prices and price targets may have been adjusted for
   200                                                                                   stock splits and dividends.


   150




   100
            Jan- 2016    Jul- 2016   Jan- 2017       Jul- 2017   Jan- 2018   Jul- 2018

                  Closing Price       Target Price          Rating Change

Source: IDC, Barclays Research

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Valuation Methodology: Our $210 price target is derived with a probability-based methodology. We see end-scenarios - forced sale (PV of $26
per share), 'stalled auto' (PV of $35 per share), 'baseline auto' (PV of $143 per share), 'blue pill auto' (PV of $1,405 per share), and 'blue pill auto /
new biz' (PV of $1,826 per share). We then apply probabilities to each stage - 3% to forced sale, 25% to stalled auto, 65% to baseline auto, 5% to
blue pill auto, and 2% to blue pill auto / new biz. Our $210 price target also implies a 36x multiple on our CY'23 EPS estimate of $5.76.
Risks which May Impede the Achievement of the Barclays Research Valuation and Price Target: We consider Tesla a binary event. If
management is able to execute on its planned product roadmap, we see significant opportunities in the premium market for its vehicles,
particularly given technology differentiation and performance. However, the inability to execute - i.e. ramp up its production line - could lead to
an unraveling of its strategy and ultimately yield a severe cash crunch on its business. Other risks include an inability to differentiate its products
from competition from larger scale, better capitalized OEMs, which could lead to ineffective execution of the Gen III product or inability to
become a mass market OEM. Similarly, risk also exists in the ramp and execution of the gigafactory, which will be a crucial supply source for the
Gen III product.




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                      UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA




                                        )
In re Tesla, Inc. Securities Litigation )   Case No. 18-CV-04865 (EMC)
                                        )
______________________________________ )




                  REBUTTAL REPORT OF DANIEL R. FISCHEL

                                 December 8, 2021
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                   B.      Dr. Hartzmark Ignores the Fact that Market Participants Understood from
                           the Beginning that Mr. Musk’s Proposal Lacked Details and Was
                           Uncertain

         15.       Without any reliable analysis, Dr. Hartzmark merely “assume[s] … that the finder

of fact will determine that [the entire Class Period] is filled with numerous statements and partial

corrective disclosures revealing curative information,” in particular “[t]he failure to offer

meaningful, reliable, and clear information [about the potential going private transaction that]

steadily contributed to and increased skepticism about the true (and concealed) status of the

proposed transaction and the veracity of the Musk Tweets,” which “throughout the Class Period

proximately caused the artificially inflated price of Tesla’s securities to decline.”23 However, he

ignores the fact that market participants understood from the beginning that Mr. Musk’s proposal

lacked details and quickly understood that it was uncertain.

         16.       Indeed, analyst commentary noted the uncertainty and lack of details regarding

the potential transaction immediately after the Musk Tweets. For example, a Bank of America

Merrill Lynch report on this date states: “It should be noted that the proposal/transaction is far

from finalized, and would require a shareholder vote. More importantly, although TSLA did

confirm a potential privatization through Musk’s statement, no theoretical transaction method,

funding plan, or structure was outlined, and there is still some skepticism over whether such a

transaction would ultimately (or even could) be executed.”24

         17.       Additional commentary by market participants following the initial tweets also

demonstrates that there was substantial doubt that Mr. Musk could or would take Tesla private at

$420 per share. For example:
                  An August 7, 2018 Bloomberg First Word article states: “Investors and analysts,
23
     Hartzmark Report ¶¶ 4 n.9, 13 & 39 (emphasis in original). As noted supra ¶ 10 n.12, Dr. Hartzmark’s event
     study analysis does not associate the “numerous statements and partial corrective disclosures revealing curative
     information” with statistically significant price declines.
24
     John Murphy, Aileen Smith, and Yarden Amsalem, “Shorts may be burned for now … but buyer beware,” Bank
     of America Merrill Lynch, August 7, 2018.

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                 even Musk himself, all seemed a little uncertain whether this will happen. The
                 same with the market: Tesla shares closed up 11% to $379.57. That was a great
                 run, but still about $40 shy of what Musk would want to offer shareholders to get
                 a deal done. Shares were coming down by about $5 in after-market trades.”25
                An August 7, 2018 Barclays report states: “… we are skeptical about the funding
                 and proposed structure.”26
                An August 7, 2018 Morningstar report states: “If a deal is announced and we
                 think its execution is more likely than not, we will raise our fair value estimate to
                 the deal price, but for now we are leaving our fair value estimate of $179 in
                 place.”27
                An August 8, 2018 Bernstein analyst report titled “Tesla: Going private? Who
                 knows… does Elon?” states: “On the other hand, Musk’s tweets that ‘Investor
                 support is confirmed’ and ‘Funding secured’ would suggest that he has spoken
                 with some few stakeholders. Here, as with nearly everything else, we remain with
                 more questions than answers. What does Musk mean by ‘investor support’ – has
                 he already gotten a go-ahead from Tesla’s major institutional shareholders, and in
                 what form? If so, why is the deal still ‘contingent on a shareholder vote’ (as he
                 noted within the same tweet)? Did Tesla’s board of directors or management
                 team already know about these plans? If so, why was the announcement so
                 abrupt and seemingly ‘unofficial’? Has Musk run his plan of maintaining retail
                 shareholders within a private Tesla by his legal team?”28
                An August 8, 2018 JPMorgan report “assign[s] only a 50% probability to [a going
                 private] scenario in our updated valuation.”29
                An August 8, 2018 PiperJaffray report states: “We note that many important
                 details are still unknowable, given the precedent-setting nature of this proposal as
                 well as the vague verbiage used to describe it. As a result, we believe this deal is
                 unlikely to succeed in the very near-term, if it succeeds at all. We also note that,
                 for true believers with a multi-year time horizon, the suggested go private
                 valuation of $420/share is probably unpalatable (especially if they cannot invest
                 in illiquid, private securities), but gaining 50%+ shareholder approval may
                 nonetheless prove easier than funding and structuring the deal in a way that is
                 legal and executable.”30
                An August 8, 2018 Morgan Stanley analyst report is titled: “Elon Musk May


25
     “Crazy Ride for Tesla Watchers as Musk Tweets: TOPLive Takeaways,” Bloomberg First Word, August 7,
     2018.
26
     Brian A. Johnson, “Musing about going private is the latest strange twist,” Barclays, August 7, 2018.
27
     David Whiston, “Musk Tweets Tesla May Go Private at $420 a Share but Stockholders May Not Have to Sell at
     That Price,” Morningstar, August 7, 2018.
28
     A.M. (Toni) Sacconaghi, Jr. “Tesla: Going private? Who knows... does Elon?,” Bernstein, August 8, 2018.
29
     Ryan Brinkman, David L Kelley, and Aayush Gupta, “Raise PT to Reflect Possible Go-Private Offer, But
     Remain Underweight on Chance Shares Could Again Trade on Fundamentals,” J.P. Morgan, August 8, 2018.
30
     Alexander E. Potter and Winnie Dong, “Questions Remain; Overweight-rated TSLA Not Going Private
     Anytime Soon,” PiperJaffray, August 8, 2018.

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                   Want Tesla Private: We Question the Feasibility of a Potential Transaction”31
         18.       In particular, analysts expressed concerns about the deal structure. For example:
                  An August 7, 2018 Barclays report states: “And not clear how public
                   shareholders stay in a private company. Musk promised that existing
                   shareholders ‘can stay investors in a private Tesla’ – but we’re not clear how that
                   would work under current registration rules/caps on non-accredited and total
                   investors (the JOBS act requirement) – although Musk hinted at a special purpose
                   vehicle structure that might be able to avoid the caps.”32
                  An August 7, 2018 Cowen analyst report states: “The capital structure is the most
                   uncertain element about this development revealed via Twitter, as an LBO model
                   would not work if existing investors were to remain as Mr. Musk claims they will.
                   It is also unclear if current publicly traded debt would remain public, which would
                   in turn continue to require financial reporting in the public domain and make the
                   company subject to the quarterly scrutiny it is trying to avoid.”33
                  An August 7, 2018 RBC Capital Markets report states: “… some of [the
                   Company’s stock] holders may not be able to hold Tesla (or as much as they
                   currently hold) should Tesla go private. A preliminary review of some of the big
                   mutual fund holders indicates holding limits on illiquid securities. At the very
                   least it could cause broader portfolio reviews.”34
                  An August 8, 2018 Berenberg report states: “This is still subject to shareholders’
                   approval, which may be the most obvious challenge for the transaction. The
                   funding of the transaction is unclear, but is potentially less of an obstacle than
                   obtaining shareholders’ approval, in our view.”35
                  An August 8, 2018 Bernstein report states: “Can existing shareholders hold stakes
                   in the company, and would they be willing to hold on? In Tesla’s official blog
                   post and in responses on Twitter, Elon envisioned that all current shareholders
                   could remain as investors within a private version of Tesla, via a Special Purpose
                   Vehicle (SPV) – this includes retail investors. We briefly spoke with securities
                   lawyers, and we do not believe there is any precedent for a public company going
                   private while maintaining its shareholder base of retail (non-accredited) investors,
                   given regulatory limitations. Even with a Special Purpose Vehicle (SPV), it is
                   unclear how Tesla may circumvent certain public company / registration
                   requirements while maintaining a large base of non-accredited investors (~13% of
                   Tesla’s shares are held by retail investors) and while keeping public debt
                   outstanding…. Will mutual fund companies be able to hold several billion dollars
                   in private company equity in one company? We don’t know. Several mutual

31
     Adam Jonas, Armintas, Sinkevicius, and Carmen Hudley, “Elon Musk may want Tesla private: We question the
     feasibility of a potential transaction,” Morgan Stanley, August 8, 2018.
32
     Brian A. Johnson, “Musing about going private is the latest strange twist,” Barclays, August 7, 2018.
33
     Jeffrey Osborne, Thomas Boyes, Christopher Souther, and Emily Riccio, “Thoughts on Elon’s tweet - go
     private offer at $420,” Cowen, August 7, 2018.
34
     Joseph Spak, George Clark, and Joseph Heidt, “On Tesla $420,” RBC Capital Markets, August 7, 2018.
35
     Alexander Haissl, Fei Teng, Cristian Dirpes, and Viktoria Oushatova, “Private Tesla to send ripples across
     industry,” Berenberg, August 8, 2018.

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                   fund companies own $2B+ in Tesla shares. Typically, mutual fund companies
                   that own shares in pre-IPO companies have limited fund exposure (almost always
                   less than 5% of a fund’s assets, and typically around 2%), so it is possible that
                   Tesla going private might force holders to reduce or sell their shares due to fund
                   constraints/parameters.”36
                  An August 8, 2018 PiperJaffray report states: “We are unsure about the legal
                   implications and procedural requirements associated with transitioning public
                   equity into a widely-held private security through a special-purpose entity similar
                   to the SpaceX equity arrangement. In our view, creating this novel shareholding
                   structure in compliance with securities laws may constitute the biggest hurdle to
                   formalizing an offer.”37

         19.       In addition, while it was reasonable to believe that the proposed transaction would

have been funded if it moved forward,38 Dr. Hartzmark’s assumption that “funding secured”

“could be read by a reasonable investor to mean complete funding for the transaction was

unconditionally secured” at the time of the Musk Tweets is inconsistent with how market

participants interpreted the phrase.39 For example:

                  An August 7, 2018 UBS report states: “The deal would likely require
                   participation from numerous banks and institutional investors, and we think it
                   likely that news of the deal would have leaked had Tesla already held discussions
                   to secure funding.”40

                  An August 7, 2018 Barclays report states: “Even with the Saudi fund taking a 3-
                   5% stake (see ‘Tesla shares move higher on Saudi Arabia fund stake’ FT, Aug 7,
                   2018), that leaves a large funding gap.”41

                  An August 7, 2018 CFRA report states: “We are surprised by his claim of
                   financing secured, even as the FT reports the Saudi Arabia Public Investment
                   Fund took a stake in TSLA.”42
                  An August 8, 2018 Evercore analyst report states: “Our view is that ‘Funding
                   secured’ should be interpreted as a strong verbal commitment, with funds
                   available and parties willing to execute quickly. However, it could be less than

36
     A.M. (Toni) Sacconaghi, Jr. “Tesla: Going private? Who knows... does Elon?,” Bernstein, August 8, 2018.
37
     Alexander E. Potter and Winnie Dong, “Questions Remain; Overweight-rated TSLA Not Going Private
     Anytime Soon,” PiperJaffray, August 8, 2018.
38
     Fischel Report § IV.
39
     Hartzmark Report ¶¶ 4 n.9 & 28.
40
     Colin Langan and Gene Vladimirov, “A Disruptive Approach to Disclosing Material Info,” UBS, August 7,
     2018.
41
     Brian A. Johnson, “Musing about going private is the latest strange twist,” Barclays, August 7, 2018.
42
     Efraim Levy, “CFRA reiterates hold opinion on shares of Tesla Inc,” CFRA, August 7, 2018.

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                   this. It may also be that initial legal documents, term sheets, letters of intent have
                   been signed.”43
                  An August 8, 2018 Oppenheimer report states: “… funding sources for such a
                   transaction are not yet identified nor how much capital would be needed given the
                   expected option for shareholders to participate in the transaction.”44

                  An August 8, 2018 PiperJaffray report states: “The other major hurdle relates to
                   funding the $420/share buyout, because some form of funding would be necessary
                   for all shares that select cash instead of new equity. Funding the deal with debt
                   (an LBO) seems difficult, given the levered state of TSLA’s balance sheet, the
                   company’s junk (B-) rating, and its history of negative cash flow. Musk may
                   have lined up ‘big thinker’ equity investors with deep pockets and generous
                   investment time horizons, but if these are sovereign wealth funds or foreign
                   partners, then Tesla may face a review from the Committee on Foreign
                   Investment (CFIUS).”45

                  An August 8, 2018 Morgan Stanley report states: “We reiterate we struggle to
                   identify a natural strategic buyer for Tesla. We first addressed this issue in our
                   December 5th 2017 report: Tesla and SpaceX: A Compelling Relationship where
                   we stated: ‘As Tesla surveys its strategic alternatives, we see extremely limited
                   scope for potential strategic or financial buyers given the capital intensity,
                   economic factors, political factors and aforementioned key man risk. CFIUS (The
                   Committee on Foreign Investment in the United States) represents a formidable
                   barrier to significant foreign ownership, in our opinion.’”46

         20.       Dr. Hartzmark explains that once a potential going private deal is announced, the

company’s stock price reflects the market’s assessment of the probability that the deal will

close.47 Based on a formula he presents, Dr. Hartzmark calculates that Tesla’s closing stock

price on August 7, 2018 – i.e., the peak closing price during the Class Period – implied a

“probability of the going private transaction being completed immediately after the Musk

Tweets” of only 36 percent.48

         21.       To determine whether this probability represents a high or low market expectation

43
     George Galliers and Chris McNally, “A Private Life is a Happy Life,” Evercore ISI, August 8, 2018.
44
     Colin Rusch, Noah Kaye, Kristen Owen, and Luis Amadeo, “TSLA: Going Private?,” Oppenheimer, August 8,
     2018.
45
     Alexander E. Potter and Winnie Dong, “Questions Remain; Overweight-rated TSLA Not Going Private
     Anytime Soon,” PiperJaffray, August 8, 2018.
46
     Adam Jonas, Armintas, Sinkevicius, and Carmen Hudley, “Elon Musk may want Tesla private: We question the
     feasibility of a potential transaction,” Morgan Stanley, August 8, 2018.
47
     Hartzmark Report ¶¶ 178-180.
48
     Hartzmark Report ¶¶ 180-181.

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that the proposed transaction would close, we applied Dr. Hartzmark’s formula to the sample of

118 going private transactions analyzed in the Fischel Report.49 As Exhibit 1 demonstrates, we

find that 96 percent of the precedent deals have a higher probability of deal completion than

Tesla,50 with a median probability of 94 percent.51 Consequently, the market’s expectation of

whether the proposed Tesla transaction would close as represented by Dr. Hartzmark’s

probability formula was substantially lower than that of the typical announcement of a going

private transaction.

         22.       Finally, on August 9, 2018, Tesla’s stock price closed below $356.85, the price

just prior to Mr. Musk’s initial tweet, and continued to close below this price for the remainder

of the Class Period.52 Therefore, under Dr. Hartzmark’s formula, the probability of the proposed

Tesla deal closing fell to zero percent on August 9, 2018.53

                   C.       Dr. Hartzmark Ignores that Tesla’s Stock Price Increased Rather than
                            Decreased on August 13, 2018 when Mr. Musk Elaborated Upon his
                            “Funding Secured” Statement

         23.       Before the market opened on August 13, 2018, Mr. Musk provided an update on

Tesla’s blog regarding his plans to take Tesla private. In the blog post, Mr. Musk discussed,


49
     Fischel Report ¶ 28 & n.59; Hartzmark Report ¶ 181.
50
     Only 5 of 118 transactions (or 4 percent) had a probability on the announcement date that was smaller than
     Tesla’s probability on August 7, 2018. The analysis for the sample uses prior closing prices as the pre-
     announcement price (i.e., the proxy for the price should the going private deal fail or not be completed) rather
     than intraday prices like Dr. Hartzmark used to calculate Tesla’s probability. If we use the closing price on
     August 6, 2018 rather than the pre-Tweet price he used, the probability is 48 percent (= (8/7 closing price of
     $379.57 – 8/6 closing price of $341.99) / (offer price of $420 – 8/6 closing price of $341.99)) and only one
     additional transaction in the sample has a lower percentage.
51
     As shown in Exhibit 1, the probabilities in our sample range from -296 percent to 394 percent. The three
     probabilities below 0 percent are a function of Dr. Hartzmark’s formula whenever the stock price declines after
     the announcement, or the offer price is below the pre-announcement price. The 16 probabilities greater than
     100 percent likely indicate that the market expects that the deal will close at a higher price than the initial offer,
     either from the same or a competing bidder.
52
     Hartzmark Report ¶ 64 & Table 4.
53
     The numerator of the probability formula is the market price less the price “should the going private deal fail or
     not be completed (PPublic),” which Dr. Hartzmark assumes is the $356.85 pre-Tweet price; therefore, once the
     market price falls below this price, the formula reports a negative number, which implies a 0 percent probability
     (because a probability cannot fall below 0 percent). Hartzmark Report ¶¶ 178-181.

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going private would be funded by equity rather than debt, meaning that this would not be like a

standard leveraged buyout structure commonly used when companies are taken private.”99

Fourth, unlike the proposals Professor Subramanian describes, Mr. Musk’s proposal was

presented – and received by market participants – as incomplete and uncertain.100 Given that Mr.

Musk’s proposal was substantially different from the typical MBO, it is unsurprising that it was,

as Professor Subramanian opines, “an extreme outlier.”




                                                       ___________________________________
                                                                 Daniel R. Fischel

December 8, 2021




99
      “Update on Taking Tesla Private,” August 13, 2018, https://www.tesla.com/blog/update-taking-tesla-private.
100
      See supra § II.B.

                                                         25
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              EXHIBIT P
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              EXHIBIT Q
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                               the following members of Tesla’s             365-1BradFiled
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     of Directors: Brad Buss, Robyn Denholm, Ira Ehrenpreis,
     Antonio Gracias, Linda Johnson Rice, and James
     Murdoch
     GLOBE NEWSWIRE

     Aug 8, 2018


     PALO ALTO, Calif., Aug. 08, 2018 (GLOBE NEWSWIRE) -- Last week, Elon opened a discussion
     with the board about taking the company private. This included discussion as to how being
     private could better serve Tesla’s long-term interests, and also addressed the funding for this
     to occur. The board has met several times over the last week and is taking the appropriate
     next steps to evaluate this.




                                                                                                          Exhibit 26


                                                                    Tesla © 2021

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  Update on Taking Tesla Private
  Elon Musk
  August 13, 2018

  As I announced last Tuesday, I’m considering taking Tesla private because I believe it could
  be good for our shareholders, enable Tesla to operate at its best, and advance our mission of
  accelerating the transition to sustainable energy. As I continue to consider this, I want to
  answer some of the questions that have been asked since last Tuesday.
  What has happened so far?
  On August 2nd, I notified the Tesla board that, in my personal capacity, I wanted to take
  Tesla private at $420 per share. This was a 20% premium over the ~$350 then current share
  price (which already reflected a ~16% increase in the price since just prior to announcing Q2
  earnings on August 1st). My proposal was based on using a structure where any existing
  shareholder who wished to remain as a shareholder in a private Tesla could do so, with the
  $420 per share buyout used only for shareholders that preferred that option.
  After an initial meeting of the board’s outside directors to discuss my proposal (I did not
  participate, nor did Kimbal), a full board meeting was held. During that meeting, I told the
  board about the funding discussions that had taken place (more on that below) and I
  explained why this could be in Tesla’s long-term interest.
  At the end of that meeting, it was agreed that as a next step, I would reach out to some of
  Tesla’s largest shareholders. Our largest investors have been extremely supportive of Tesla
  over the years, and understanding whether they had the ability and desire to remain as
  shareholders in a private Tesla is of critical importance to me. They are the ones who
  believed in Tesla when no one else did and they are the ones who most believe in our future.
  I told the board that I would report back after I had these discussions.

  Why did I make a public announcement?
  The only way I could have meaningful discussions with our largest shareholders was to be
  completely forthcoming with them about my desire to take the company private. However, it
  wouldn’t be right to share information about going private with just our largest investors
  without sharing the same information with all investors at the same time. As a result, it was
  clear to me that the right thing to do was announce my intentions publicly. To be clear, when
  I made the public announcement, just as with this blog post and all other discussions I have
  had on this topic, I am speaking for myself as a potential bidder for Tesla.

  Why did I say “funding secured”?
  Going back almost two years, the Saudi Arabian sovereign wealth fund has approached me
  multiple times about taking Tesla private. They first met with me at the beginning of 2017 to
  express this interest because of the important need to diversify away from oil. They then held
  several additional meetings with me over the next year to reiterate this interest and to try to
  move forward with a going private transaction. Obviously, the Saudi sovereign fund has
  more than enough capital needed to execute on such a transaction.
  Recently, after the Saudi fund bought almost 5% of Tesla stock through the public markets,
  they reached out to ask for another meeting. That meeting took place on July 31st. During the
  meeting, the Managing Director of the fund expressed regret that I had not moved forward
  previously on a going private transaction with them, and he strongly expressed his support
  for funding a going private transaction for Tesla at this time. I understood from him that no
  other decision makers were needed and that they were eager to proceed.
  I left the July 31st meeting with no question that a deal with the Saudi sovereign fund could
  be closed, and that it was just a matter of getting the process moving. This is why I referred
https://www.tesla.com/blog/update-taking-tesla-private                                                 1/2
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  to “funding secured” in the August 7th announcement.
  Following the August 7th announcement, I have continued to communicate with the
  Managing Director of the Saudi fund. He has expressed support for proceeding subject to
  financial and other due diligence and their internal review process for obtaining approvals.
  He has also asked for additional details on how the company would be taken private,
  including any required percentages and any regulatory requirements.
  Another critical point to emphasize is that before anyone is asked to decide on going private,
  full details of the plan will be provided, including the proposed nature and source of the
  funding to be used. However, it would be premature to do so now. I continue to have
  discussions with the Saudi fund, and I also am having discussions with a number of other
  investors, which is something that I always planned to do since I would like for Tesla to
  continue to have a broad investor base. It is appropriate to complete those discussions before
  presenting a detailed proposal to an independent board committee.
  It is also worth clarifying that most of the capital required for going private would be funded
  by equity rather than debt, meaning that this would not be like a standard leveraged buyout
  structure commonly used when companies are taken private. I do not think it would be wise
  to burden Tesla with significantly increased debt.
  Therefore, reports that more than $70B would be needed to take Tesla private dramatically
  overstate the actual capital raise needed. The $420 buyout price would only be used for Tesla
  shareholders who do not remain with our company if it is private. My best estimate right now
  is that approximately two-thirds of shares owned by all current investors would roll over into
  a private Tesla.
  What are the next steps?
  As mentioned earlier, I made the announcement last Tuesday because I felt it was the right
  and fair thing to do so that all investors had the same information at the same time. I will now
  continue to talk with investors, and I have engaged advisors to investigate a range of
  potential structures and options. Among other things, this will allow me to obtain a more
  precise understanding of how many of Tesla’s existing public shareholders would remain
  shareholders if we became private.

  If and when a final proposal is presented, an appropriate evaluation process will be
  undertaken by a special committee of Tesla’s board, which I understand is already in the
  process of being set up, together with the legal counsel it has selected. If the board process
  results in an approved plan, any required regulatory approvals will need to be obtained and
  the plan will be presented to Tesla shareholders for a vote.
  SHARE




https://www.tesla.com/blog/update-taking-tesla-private                                                    2/2
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             EXHIBIT 76
                   (filed under seal)
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             EXHIBIT 81
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             EXHIBIT 94
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             EXHIBIT 105
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             EXHIBIT 106
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             EXHIBIT 109
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             EXHIBIT 121
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             EXHIBIT 182
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             EXHIBIT 225
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             EXHIBIT 255
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             EXHIBIT 323
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Exclusive: Saudi Arabia's PIF has
shown no interest in bankrolling
Tesla buyout - sources
By Saeed Azhar, Marwa Rashad, Pamela Barbaglia
5 MIN READ


DUBAI/RIYADH/LONDON (Reuters) - Saudi Arabia's Public
Investment Fund (PIF) has shown no interest so far in financing Tesla
Inc TSLA.O CEO Elon Musk's proposed $72 billion deal to take the
U.S. electric car maker private, despite acquiring a minority stake in the
company this year, two sources familiar with the matter said.
FILE PHOTO: A Tesla sales and service center is shown in Costa Mesa, California,
U.S. June 28, 2018. REUTERS/Mike Blake

The 47-year-old investor and engineer stunned financial markets on
Tuesday when he said on Twitter that he was considering a take-private
deal for Tesla, an auto manufacturing pioneer that developed the world’s
first luxury all-electric sedan car. He also said he had secured funding
for the proposal, without providing details.

Investors and analysts viewed PIF as a natural financing partner. Beyond
amassing a stake of just below 5 percent in Tesla, the sovereign wealth
fund has poured tens of billions of dollars into technology investments,
including $45 billion in SoftBank Group Corp's 9984.T Vision Fund
over five years.

However, a source who is familiar with PIF’s strategy said it was not
currently getting involved in any funding process for Tesla’s take-
private deal.




                                                                         Exhibit 323
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A second source close to the situation also said PIF was not taking part
in any such plan at this stage. This source said that the Saudi fund would
not make an investment of this kind without seeking guidance first from
Softbank. According to separate sources who spoke to Reuters last
week, Softbank is currently not pursuing an investment in Tesla given its
investment earlier this year in rival GM Cruise.

Pressure is mounting on Musk to produce details of his financing plan.

Bloomberg reported on Sunday that PIF is in talks that could see it
become a significant investor in Tesla as part of the take-private plan but
has made no firm decision, citing people with knowledge of the fund’s
plans.
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Tesla’s board has not received a detailed financing plan from Musk and
is seeking more information, sources told Reuters on Thursday.

The board will make a decision on whether to hire advisers and launch a
formal review of Musk’s take-private proposal in the coming days,
based on how much detail on the financing plan it receives from Musk,
another source said.

The sources requested anonymity because the deliberations are
confidential. A spokesman for PIF was not immediately available for
comment. A Tesla spokesman declined to comment on behalf of the
company and Musk.

The U.S. Securities and Exchange Commission has contacted Tesla to
ask about Musk’s assertion on Twitter that funding for his proposed deal
was “secured”, the Wall Street Journal reported on Wednesday.

Tesla is facing a make-or-break moment in its eight-year history as a
public company, as competition from European automakers is poised to
intensify with new electric vehicles from Mercedes, Audi, BMW and
other rivals.
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Taking Tesla private would remove the pressure from Musk coming
from hedge funds betting that the company’s stock will drop given its
production issues and negative cash flow. It would also remove the
company from the glare of Wall Street that comes with reporting
quarterly earnings publicly.
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In a letter to employees on Tuesday, Musk suggested a choice for
shareholders of selling their shares for $420 each or remaining investors
in a private Tesla.

Musk has also said he would be looking to keep his ownership of Tesla
at around 20 percent in a buyout deal, and that a special purpose vehicle,
like the one that exists at his aerospace company SpaceX, would allow
Tesla shareholders to remain invested if they so choose.

Investment bankers and analysts have so far reacted with scepticism,
telling Reuters it would be hard for Musk, whose net worth is pegged by
Forbes at $22 billion, to raise the equity and debt financing needed for
the deal given Tesla is not turning a profit.

Some analysts have suggested that Musk could convince Tesla’s top
shareholders, such as Fidelity Investments and China’s Tencent, to roll
their equity stakes into the deal, thereby significantly reducing the
amount of money needed to be raised.

However, the deal structure would come with big logistical and legal
challenges when it comes to buying out smaller shareholders, analysts
have said.
Additional reporting by Ed Taylor in Frankfurt and Carl O’Donnell in New York; Editing by
Silvia Aloisi and Susan Fenton
Our Standards: The Thomson Reuters Trust Principles.
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